8:04-cr-00262-LES-FG3       Doc # 144     Filed: 10/23/07    Page 1 of 1 - Page ID # 905




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:04CR262
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                   JUDGMENT
                                            )
BRANDY K. BRENTON,                          )
                                            )
             Defendant.                     )

      In accordance with the accompanying Memorandum and Order,

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (Filing No. 140);

      2.     Upon initial review, the Court summarily denies the Defendant's § 2255

motion as untimely, and therefore the motion (Filing No. 140) is summarily denied; and

      3.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

      DATED this 23rd day of October, 2007.

                                                BY THE COURT:

                                                S/Laurie Smith Camp
                                                United States District Judge
